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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE
        MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA   )
                           )               CRIMINAL ACTION NO.
     v.                    )                 1:11cr191-MHT
                           )                      (WO)
CHRISTOPHER DARRIN ALLOWAY )

                        OPINION AND ORDER

                        I.    INTRODUCTION

       Amendment 782 to the Sentencing Guidelines revised

the guidelines applicable to drug-trafficking offenses.

When    it   was   promulgated    in    2014,    the    United   States

Sentencing     Commission     decided     to    give    the   amendment

retroactive        effect;     this      court         established      a

Retroactivity Screening Panel to determine whether a

defendant might be eligible for a reduction of sentence

and, if so, to make a recommendation as to whether the

court    should    exercise   its      discretion      to   grant    that

reduction.     See United States v. Hargrove, 572 F. App’x

735, 736 (11th Cir. 2014) (“[T]he district court must

decide whether, in its discretion and in light of the

[18 U.S.C.] § 3553(a) sentencing factors, to retain the
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original sentence or to resentence the defendant under

the amended guideline range.” (citing United States v.

Bravo, 203 F.3d 778, 781 (11th Cir. 2000)); see also

United States v. Vautier, 144 F.3d 756, 760 (11th Cir.

1998) (“The grant of authority to the district court to

reduce       a     term        of    imprisonment     is     unambiguously

discretionary.”).

       The   members       of       the   Panel   agree     that    defendant

Christopher Darrin Alloway is eligible for a reduction

under 18 U.S.C. § 3582(c)(2), but have been unable to

make     a   unanimous          recommendation       because       they   have

identified a ‘post-sentencing conduct’ issue relevant

to    whether      a    reduction         is   warranted,    see     U.S.S.G.

§ 1B1.10         cmt.     n.    1(B)(iii):1       Alloway    was     recently


    1. U.S.S.G. § 1B1.10 cmt. n. 1(B) instructs this
court to consider three different sets of factors: (i)
the factors set forth in 18 U.S.C. § 3553(a); (ii) “the
nature and seriousness of the danger to any person or
the community that may be posed by a reduction in the
defendant’s term of imprisonment”; and (iii) the
defendant’s “post-sentencing conduct.”      However, the
court   has  not  found--and   the   parties   have   not
identified--any    factor    other     than     Alloway’s
post-sentencing conduct that might warrant the denial
or limitation of a reduction.     Notably, his criminal
(continued...)
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terminated          from       a    residential           reentry     center     for

possession          of    synthetic         marijuana.         The       government

takes    the    position            that    Alloway       should    be     denied   a

reduction altogether, while Alloway argues that this

infraction          was    a       grief-fueled          mistake    which,     when

viewed     in       the    context          of     his    otherwise        excellent

post-sentencing            record          and      his     mild,     non-violent

criminal history, should not prevent him from receiving

the twelve-month reduction for which he is eligible.

    Having          considered             the     evidence     and        arguments

presented by the parties at a hearing in open court on

December       7,    2015,         the     court    concludes       that     Alloway

should     receive         the       full        reduction.         This     opinion

explains why.



                                   II.   ELIGIBILITY



history   is   extremely    minimal--his   only   prior
convictions were in state court, for possession of
powder cocaine in 2011 and for violation of a noise
ordinance in 2008.   Alloway has never been convicted,
in either a judicial or disciplinary proceeding, of any
violent act.

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       The    parties         agree   that         Amendment    782     reduced

Alloway’s pre-departure offense level from 28 to 26.

Because            Alloway            received            a           two-level

substantial-assistance            departure          pursuant   to    U.S.S.G.

§ 5K1.1,      he    is        eligible       for    an   amended      sentence

“comparably        less”       than   the     amended     guideline       range

pursuant to U.S.S.G. § 1B1.10(b)(2)(B)--in effect, an

offense level of 24.              His criminal history category is

I, and he originally received a sentence at the bottom

of the applicable guideline range; hence, the parties

agree    that      he    is    eligible       for    a   reduction      from   a

sentence of 63 months to one of 51 months.



                   III.       POST-SENTENCING CONDUCT

       As Alloway notes, “[a] defendant’s post-sentencing

[mis]conduct does not warrant an automatic denial of a

sentence reduction.”             United States v. Jenkins, 2009 WL

1444438, at *4 n.5 (E.D. Pa. May 22, 2009) (Robreno,

J.) (citing United States v. Ayala, 540 F. Supp. 2d

676,    689     (W.D.     Va.     2008)      (Jones,     J.)    (granting      a


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reduction over the government’s objection based on the

defendant’s two disciplinary infractions for fighting

in prison)).       Rather, the court must “consider [the]

defendant’s      misconduct    as       a   factor          in    considering

whether    a    reduction     in     sentence          is        appropriate.”

United States v. Miller, 2008 WL 782566, at *3 (E.D.

Tenn. Mar. 21, 2008) (Varlan, J.).

    At issue here is one relatively minor infraction.

Alloway was released from Federal Correctional Complex

Yazoo City and arrived at Dismas Charities (which is a

residential reentry center) on January 7, 2015.                             On

April 29, he was found in possession of one unopened

packet    of    synthetic   marijuana,           terminated          from   the

program, and reincarcerated at the Elmore County Jail.

He was further penalized by the Bureau of Prisons with

the loss of a year of good-time credit.

    Otherwise,      Alloway    was      doing        very    well:     He   had

maintained full-time employment with a food-processing

company,   he    had   participated         in   a    home-pass       program

without incident, and he had tested negative for drugs


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15 times, including the day before he was caught in

possession of synthetic marijuana.              (The one reprimand

he did receive was on March 19, 2015, when he was found

in possession of a cell phone and punished with 20

hours of extra duties.)         This good behavior continued a

trend that began as soon as Alloway was incarcerated;

he committed not one single disciplinary infraction in

prison.

    Moreover, it appears that Alloway’s infraction does

not represent a return to either recreational drug use

or drug trafficking.        Rather, he obtained the marijuana

in a misguided effort to cope with the devastation he

experienced following the death of his closest friend

and former girlfriend, Tarsha Davenport.                   Alloway met

Davenport at the age of 19, shortly after both his

half-brother     and   mother     died.       After    a    period      of

romantic    involvement,      they    maintained      a    very   close

platonic friendship; he reports that she was the only

person     who   supported     him    when    he    was     convicted,

visiting him in jail and sending him regular letters


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and money in prison.                Alloway eagerly planned to see

Davenport when he was transferred to Dismas Charities;

she    came   to   visit      him    when    she       was   in    town    for   a

doctor’s appointment, but was informed that visitors

were    not   permitted       on     weekdays.           Two      weeks   later,

Davenport died unexpectedly, at the age of 30.                            Alloway

sought and obtained permission to attend her funeral,

but the funeral was delayed by a day, and he received

notice too late for his renewed request to attend to be

approved.

       Throughout Alloway’s incarceration and now, before

this    court,     he   has    professed          an   apparently         sincere

recognition that he has a drug problem and desire to

pursue treatment.          This treatment will be afforded to

him,    and   required        of    him,     as    a    condition         of   his

supervised     release.2           Further    treatment,           not    further


    2. Were Alloway already serving his term of
supervised release, this infraction would presumably
have been discovered (if he used the marijuana at all)
by way of a failed drug screening test.        In that
instance, the court would most likely have opted to
require further participation in a drug treatment
program in lieu of revocation.   See United States v.
(continued...)
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incarceration,            is     the       appropriate       response       to     his

infraction.

       The        government,          for        its     part,        states    that

“compelling          reasons          exist”       for     denying       Alloway     a

reduction.           However,         it     has   presented       no    additional

evidence          beyond       that     already          acknowledged       by     the

defense and discussed above.                       Gov’t Resp. to Ct. Order

(doc. no. 567), at 1.                  Rather, it merely contends that

Alloway’s post-sentencing conduct “reflects he does not

promote       respect          for     the       law,”    and     reiterates       the

assessment           by        Dismas        Charities          that      Alloway’s

“reintegration back into society will not be successful

until        he     learns       the       significance           of     Rules     and

Regulations.”             Id. at 5 (citing Sentencing Position of

Def.    (doc.        no.       566),       ex.     1     (memorandum      regarding


Wilson, 998 F. Supp. 1377 (M.D. Ala. 1998) (Thompson,
J.) (citing U.S.S.G. § 7B1.4, cmt. n. 6 (“In the case
of a defendant who fails a drug test, the court shall
consider   whether  the  availability   of  appropriate
substance abuse treatment programs, or an individual’s
current or past participation in such programs,
warrants an exception from the requirement of mandatory
revocation and imprisonment under 18 U.S.C. §§ 3565(b)
and 3583(g). 18 U.S.C. §§ 3563(a), 3583(d).”)).

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Alloway from Dismas Charities to Bureau of Prisons), at

2).

      The court disagrees.           Alloway’s behavior reflects

not disrespect for the law, but rather the difficulty

of his ongoing struggle not to seek solace in drugs.

Understanding              this           infraction             as        a

not-yet-fully-treated symptom rather than as an act of

incorrigible lawlessness is not intended to excuse it.

But such a perspective does lead the court to conclude

that neither Alloway nor the society to which he will

return      will   be      served    by     a    lengthier       term     of

incarceration.

      The     government    also    cites    a   number     of   cases    in

which courts have denied sentence reductions or upheld

such denials based in part on post-sentencing conduct,

but makes no mention of the facts of those cases and

their dissimilarity to the facts of this one.                           When

considered more closely, these cases are inapposite;

all      of      them      involve        serious      or        recurrent

post-sentencing         misconduct,       violent   offense       conduct,


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extensive criminal history, or else a highly favorable

plea   deal   which   had    already    prevented     the    defendant

from receiving a much harsher sentence.3               None of these


    3. See United States v. Dunn, 728 F.3d 1151, 1159
(9th Cir. 2013) (upholding a denial based on the
defendant’s “persistent, violent, and lengthy criminal
history,”   which   included   multiple   escapes  from
correctional facilities, a sex offense involving a
minor, and the assault of his spouse, as well as based
on the “Probation Officer’s assessment of [his]
volatile temperament and two disciplinary incidents in
prison”); United States v. Wilson, 716 F.3d 50, 53 (2d
Cir. 2013) (upholding a denial of a second sentence
reduction based on “evidence that [the defendant] was
disciplined in prison four times” over the course of
one year, without specifying what the infractions
entailed); United States v. Styer, 573 F.3d 151, 154-55
(3d Cir. 2009) (upholding a denial based on concerns
regarding “the nature of [the defendant’s] crime, his
criminal history [category IV], his use of firearms,
the need for deterrence, and public safety,” including
specifically “that he had shot five times at a police
officer, and the he had endeavored to conceal firearms
from investigators”); United States v. Stevenson, 332
F. App’x 261, 262-63 (6th Cir. 2009) (upholding a
denial based on the defendant’s “substantial criminal
history, which included one prior felony and numerous
misdemeanor marijuana convictions,” the fact that he
had “‘recklessly created a substantial risk of death or
serious   bodily   injury’   when   fleeing   from  law
enforcement prior to his arrest,” and the fact that he
had “two disciplinary violations in prions, which were
sufficiently serious to lead to a loss of several
privileges”); United States v. Arceneaux, 297 F. App’x
819, 820-21 (10th Cir. 2008) (upholding a denial based
on the defendant’s “record of disciplinary infractions
(continued...)
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spanning his imprisonment” despite the fact that
“[t]his     institutional    record    was     relatively
unexceptional, did not result in additional criminal
charges, and none of the incidents reported were
related to controlled substances, alcohol, or dangerous
weapons,” and the fact that the government “never
opposed   his   motion  based   on  any   public   safety
factors”); United States v. Melton, 2008 WL 1787045, at
*2 (W.D.N.C. Apr. 17, 2008) (Whitney, J.) (denying a
reduction because the defendant had, over a span of ten
years, distributed a “staggering” quantity of crack
cocaine and acted as “the conspiracy’s enforcer,”
“often armed with handguns”); United States v. Craig,
2008 WL 1775263, at *2 (W.D.N.C. Apr. 15, 2008)
(Whitney, J.) (denying a reduction in light of the
“extensive and violent nature of the drug conspiracy to
which Defendant was a member for approximately two
years,” and the fact that he had been sentenced,
“pursuant to a very favorable Plea Agreement,” based on
only a small fraction of the quantity of drugs he had
in fact distributed); United States v. Suell, 2008 WL
2845295, at *3 (N.D. Tex. July 17, 2008) (Fitzwater,
J.) (denying a reduction because the defendant had
“benefited significantly” from “a plea agreement that
significantly mitigated the more onerous consequences
of the higher sentencing range that then applied to
crack cocaine sentences” and reduced his sentence from
a mandatory 20 years (up to life) to 9 years); United
States v. Reynolds, 2008 WL 2367254, at *3-4 (S.D. W.
Va. June 9, 2008) (Johnston, J.) (denying a reduction
because the defendant’s “offense conduct was nothing
short of egregious--as evidenced by his sentence at the
maximum of the applicable Guideline”; his crime
involved    operating   “a   major   drug    distribution
enterprise,” distribution to juveniles, falsification
of records to obtain weapons, and a number of
shootings, including one in which he left the victim
paralyzed; and his post-offense conduct included a
“laundry list of disciplinary incidents, including
(continued...)
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factors is present here.                  In sum, the case law the

government has identified does not suggest (much less

require) that Alloway be denied a sentence reduction.



                             IV.    CONCLUSION

       Alloway’s recent infraction appears to be a very

unfortunate        deviation       from    an    otherwise      successful

trajectory       towards     rehabilitation.           In   this   court’s

view, what he needs now is not another year in prison

but    rather     another    opportunity         to   rebuild   his     life.

Alloway appears to recognize that in order to succeed

in this endeavor, he must grapple seriously with his

substance-abuse problem; when he inevitably hits bumps

in    the    road,    he    must    turn    to    specialists      in    drug

treatment       and    his    assigned       Probation      Officer       for

support, instead of self-medicating.                    Alloway and the

threats of violence and insubordination”), aff’d, 309
F. App’x 703 (4th Cir. 2009); see also United States v.
Sifford, 2008 WL 2048387, at *2 (W.D.N.C. May 13, 2008)
(Whitney, J.) (denying in part the requested reduction
because the defendant often “possess[ed] ... dangerous
firearms during the course of a sophisticated and
long-running drug trafficking conspiracy”), aff’d, 309
F. App’x 705 (4th Cir. 2009).

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public      will   both    be    better    served       by   his    intensive

supervision than by continued incarceration, and the

court      has     been    informed       that    a     plan       for   rapid

assessment          and      induction           into        a      treatment

program--which will include, as appropriate, frequent

random drug tests, outpatient or inpatient treatment,

and     participation       in   support     groups--is          already    in

place.

                                   * * *

       After conducting an independent and de novo review

of the record, and based upon the assent of defendant

Christopher Darrin Alloway, it is ORDERED, pursuant to

18      U.S.C.      § 3582(c)(2),         that        the    sentence       of

imprisonment of 63 months previously imposed on him by

this court (as reflected in the last judgment issued)

is reduced to 51 months.

       DONE, this the 8th day of December, 2015.

                                        /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
